 

Case 1:12-cv-00259-WSD Document 55 Filed 10/31/13 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION
CLAUDIA FUNEZ, Civil Action File No.
1:12-cv-00259-WSD
Plaintiff,
Vv.
WAL-MART STORES EAST, LP,

Defendant.
/

STIPULATION OF DISMISSAL WITH PREJUDICE
COME NOW, Counsel for all parties above, and hereby stipulate and agree
that the above-referenced matter shall be dismissed with prejudice.

Respectfully submitted this DSday of Oc\ . _, 2013.

;

: Albert J. DeCusati, Esq.

 

Georgia Bar No. 316678 Georgia Bar No. 215610

119 North McDonough Street McLain & Merritt, P.C.

Decatur, Georgia 30030 3445 Peachtree Road NE, Suite 500
(404) 522-7553 Atlanta, Georgia 30326

(404) 266-9171
Case 1:12-cv-00259-WSD Document 55 Filed 10/31/13 Page 2 of 2

CERTIFICATE OF SERVICE

This is to certify that on / 2) FI / (7 , I electronically filed a

 

Stipulation of Dismissal with Prejudice with the Clerk of Court using the
CM/ECF system which will automatically send email notification of such filing to

attorneys of record.

This 7) day of Oita— , 2013.

McLAIN & a P.C.

Albert J. DéCusati, Esq.
Georgia Bar No. 215610
Attorney for Defendant

3445 Peachtree Road, N.E.

Suite 500

Atlanta GA 30326

(404) 266-9171
